                                        NO. 12-16-00290-CV

                               IN THE COURT OF APPEALS

                 TWELFTH COURT OF APPEALS DISTRICT

                                            TYLER, TEXAS

                                                          §    APPEAL FROM THE
IN THE INTEREST OF J.M.P.,
                                                          §    COUNTY COURT AT LAW
A CHILD
                                                          §    CHEROKEE COUNTY, TEXAS

                                        MEMORANDUM OPINION
                                            PER CURIAM
         This appeal is being dismissed for failure to comply with the Texas Rules of Appellate
Procedure. See TEX. R. APP. P. 42.3.
         On October 28, 2016, the clerk of this Court notified Appellant that the filing fee in this
appeal is due. See TEX. R. APP. P. 5. Appellant was informed that failure to remit the filing fee
on or before November 7, 2016, would result in the Court’s taking appropriate action, including
dismissal of the case without further notice. See TEX. R. APP. P. 42.3(c). The date for remitting
the filing fee has passed, and Appellant has not complied with the Court’s request.
         Because Appellant has failed, after notice, to comply with Rule 5, the appeal is
dismissed. See id.
Opinion delivered November 16, 2016.
Panel consisted of Worthen, C.J., Hoyle, J., and Neeley, J.




                                                   (PUBLISH)
                                   COURT OF APPEALS

      TWELFTH COURT OF APPEALS DISTRICT OF TEXAS

                                           JUDGMENT

                                        NOVEMBER 16, 2016


                                         NO. 12-16-00290-CV


                           IN THE INTEREST OF J.M.P., A CHILD


                                Appeal from the County Court at Law
                      of Cherokee County, Texas (Tr.Ct.No. 2015-04-0262)

                    THIS CAUSE came to be heard on the appellate record; and the same being
considered, it is the opinion of this Court that this appeal should be dismissed.
                    It is therefore ORDERED, ADJUDGED and DECREED by this Court that
this appeal be, and the same is, hereby dismissed; and that this decision be certified to the court
below for observance.
                    By per curiam opinion.
                    Panel consisted of Worthen, C.J., Hoyle, J. and Neeley, J.
